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                           IN THE UNITED STATE DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA:                                 CASE NO. 21-CR-392 (RCL)

                                                           DEFENDANT TAYLOR
 v.                                                        SENTENCING MEMORANDUM
                                                           AND SUPPORTING DOCUMENTS
 RUSSELL TAYLOR, Defendant
                                                           HONORABLE ROYCE C. LAMBERTH
                                                           UNITED STATES DISTRICT JUDGE




                                      STRAIGHT TO THE POINT


        Mr. Taylor is asking this Court for a Probationary Sentence with an appropriate amount
of Home Confinement. While it is all too common for defense attorneys and prosecutors for the
executive branch to exaggerate their recommendation, down or up, Mr. Taylor submits this is a
responsible request and not hyperbole given his very specific and unusual circumstances.
We shall elaborate below.
        The USSG Sentencing Guidelines are the loadstone of the sentencing process1 and Mr.
Taylor expects this Court will look to the Guidelines as it has in comparative cases. But Mr.
Taylor also understands that it was the dissents in Booker by Justice Stevens and Justice Scalia
that remind us that both predictability and control of extreme disparity are essential variables that
this Court might choose to consider as well. At the same time the remedial majority of Booker
grants this Court power to specifically look at the character of Mr. Taylor for it its final decision.
The totality of the circumstance suggest Mr. Taylor is the optimal candidate for a probationary
sentence and this is not a “split the difference” type resolution considering the overreaching
requests of the government. The real range of possible sentence, if the Guidelines are to be



1 The Defendant will forego the usual boiler plate Booker language knowing that this Court knows the law and does
not need another rambling brief filled with useless and repetitious language.

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properly considered is probation to 27 months, not the governments outside the Guideline
request of 52 months.
   Mr. Taylor, having plead guilty to one count of 1512 (k), believes his base Guideline is a 15
or 16 as suggested in the PSR. The government appears to have adopted a significantly higher
number ignoring recent rulings and the case law – we shall visit on this later.
    Mr. Taylor reserved the right to challenge the application of USSG §3B1.1(b) in the Plea
Agreement and argues he is an organizer not a manager and should receive 2 points not 3. This is
the only dispute with the PSR.
   The government has also filed a motion under USSG §5K1.1 on his behalf. Given his
substantial assistance, which this Court has personally seen, there should be a further reduction
to a level well below 15/16. The governments recommendation appears to be stingy considering
the cooperation of Mr. Taylor over the past three years. But even if the Court accepts the
disappointingly low 4 points recommendation Mr. Taylor arrives at a level 12 within Zone C.
This creates a range of probation to 16 months.
   Mr. Taylor seeks a probationary sentence, born of the Guidelines, which considers a further
departure or variance for a severe medical condition and a potential downward variance for
certain factors under USSG §3553 which demonstrate that Mr. Taylor is unique amongst the
many January 6th defendants in his acceptance of responsibility, cooperation, and rehabilitative
behaviors since 2021. Accordingly, Mr. Taylor requests the following reasonable sentence:


36 Months of Probation
8 Months of Home Detention
$2,000 Restitution
200 Hours of Community Service
Mr. Taylor agrees with the PSR on the issue of fines
All other usual terms and conditions




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                                 FOUNDATIONAL FACTORS


The following 10 foundational factors make up the basis for our position.


       1. Mr. Taylor was never political involved before the events leading up to and on
           January 6th and since that day, he has not been involved in any activities that further
           the false narratives presented by far too many people and organizations.
       2. Mr. Taylor immediately took honest responsibility.
       3. Mr. Taylor ‘s extensive cooperation with the government at personal risk and
           personal financial costs associated with that cooperation.
       4. Mr. Taylor settled the civil lawsuit directly filed against him related to January 6th at
           significant financial expense with money he had to borrow, corroborating his further
           remorse.
       5. Mr. Taylor sought deeper insight and rehabilitation by participating in Citizenship
           Classes to remind him of the true value of being an American.
       6. Mr. Taylor completed over 300 hours of Community Service.
       7. A fair presentation of his character is attached in letters of recommendation.
       8. Mr. Taylor served six days in custody and had an ankle monitor for approximately
           430 days before this Court allowed it to be removed. He has had no violation nor
           pretrial failures.
       9. Two specific acts of Mr. Taylor’s on January 6th should be briefly noted.
       10. Mr. Taylor has a severe medical condition, due to his large stature, which requires
           daily attention.


                              A DECLARATION OF CULPABILITY


“How many legs does a dog have if you call his tail a leg? Four. Saying that a tail is a leg
doesn't make it a leg.”

                                                     -Abraham Lincoln



       This Court has seen far too many defendants, and their supporters, insist that the events

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of January 6th did not unfold as they did. Mr. Taylor is not one of them. Mr. Taylor makes a firm
declaration that he does not seek to dispute his criminal behavior of January 6th. This day truly is
a dark sport on the face of the nation we cherish and nothing in this Sentencing Memorandum
should be viewed as an attempt to diminish the criminality of that day. We do, however, submit
that Mr. Taylor is distinguishable from other defendants. Some defendants have continued to call
January 6th a false flag, some go to trial and then later claim remorse, some have claimed to
accept responsibility only to turn back to their vomit after they were sentenced, and some have
truly accepted their proper part and sought rehabilitation. But scant few have done what Mr.
Taylor has and then maintained their remorseful actions for over 3 1/4 years.
         For the past three years and nearly four months Mr. Taylor has been steadfast in his
admission of guilt of crossing those all too important lines.2 Within a month of being charged he
offered to meet with the government, and he has stayed the course since that day. He has not one
blemish of turning away from his admission. For certain the Court has seen Mr. Taylor’s
sincerity in both his allocution and during nearly two days on the stand, under oath, testifying to
his behavior.
         It would be unfair to say that all his political beliefs have shifted, they have not. He still
has a conservative based conviction of the “Shinning City on the Hill” view of America. But he
does not believe that one should cross the lines that were crossed on January 6th. This type of
action runs the risk of dimming the light, even for a moment, on what still is the greatest beacon
of hope in human history.
         On the day he faced the Magistrate Judge in California Mr. Taylor said “my heart broke
as he read the charges against me because it was the United States of America vs Russell Taylor.
I had hurt the very country I love.” But months before that day in Court, he had already begun
to understand his failure on January 6th.
         He has professed a straight declaration of his own guilty for crossing those lines from
then until now. We ask the Court not to view anything in this Document as a desire to reduce that
failure. Mr. Taylor adds the important word “please” to emphasis his acceptance of responsibility
even as arguments are made below to demonstrate mitigation.



2 Of course, there has been an evolution of understanding. Mr. Taylor has had to process the charges, his actions,
and the application of that law to understand completely his failures. But the point is he did the work and
understands that failure.

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                               ACCEPTANCE OF RESPONSIBILITY


“The great thing in this world is not so much where we are, but in what direction we are going.”

                                                            -Justice Oliver Wendall Holmes

        It’s one thing to be sorry once you’re charged with a crime but something more to be
repentant before actual prosecution begins. Mr. Taylor was not charged until June of 2021. In
January Mr. Taylor had already begun to see how his actions were wrong. This led to an
immediate dilemma with his job. His January 6th involvement could hurt the company and cost
jobs. He was confronted with this issue and agreed to resign as C.E.O. knowing his staying might
cost jobs.3
        When he was initially charged Mr. Taylor was out of the State. He immediately returned
and turned himself over to the F.B.I.. Within just a few weeks of his initial appearance his
attorney reached out to the government to discuss both a plea and cooperation. From that
moment he never wavered in his willingness to cooperate and plead guilty.
        This on-going declaration is not to say that we agree with all the government’s
characterizations of the facts. We trust that the Court sees past rhetoric and looks to reality just as
it did in the case of the co-defendants Warner, et al.
        For over three years Mr. Taylor’s actions indicate his direction is rehabilitative and not
stagnate or rancorous. His actions are very different from that of his co-defendants or many other
January 6th defendants. No words can be written that would explain better than Mr. Taylor’s
cooperative, remorseful, and on-going redemptive actions since January 6th.


                 NO NEED FOR UNPRODUCTIVE REPETITION OF FACTS

        Mr. Taylor chooses not to regurgitate the facts of January 6th which are all too well
known to this Court. Your Honor has sat through hundreds of hours of testimony and video. By
now the Court has the equivalent of a PhD in the events of January 6th. We do not feel the need
to add to the Courts burden with additional hearsay-riddled statements, deleterious adjectives,


3 His former company had numerous business connections in the tech industry of Northern California, and it was
felt his further employment could be politicized and hurt the company.

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and biased opinions when the Court has obtained information “straight from the horse’s mouth.”4
         Indeed, Mr. Taylor is the source of much of the information gained by the government
that is now used against him.5 For example, the government had only suspicions that the axe was
carried by Mr. Taylor in his backpack until Mr. Taylor told them he did. They also agreed it
would not be used against him in their sentencing brief in the proffer agreement, but we
understand that it came out in trial, from Mr. Taylors own mouth, so they either forgot or now
feel it now is open for discussion. Either way it was Mr. Taylor that told them this fact in the
spirt of cooperation and his quest for redemption.
         While the government may also try to blend words that paint or taint the story, Mr.
Taylor only asks the Court to recollect that in many ways it was his statements to the F.B.I. and
the U.S. Attorney’s Office, in numerous proffer sessions, his extensive plea agreement,
allocution, and during his testimony in the Hostetter Trial that Mr. Taylor gives the greatest
texture and details to his own guilt. While the government will certainly revisit these issues in
their brief, and we might want to take an occasional exception to an interpretation or two, the
facts are well settled. Debates of when things occurred, where Mr. Taylor was at certain times,
and his attempts to obstruct, influence, or impeded the Certification of the Electoral College are
well known to this Court.
         Mr. Taylor notes that the governments brief is chock-full of some of the more radical
statements of Hostetter and others and then attributed somehow to Mr. Taylor. This seems to be
what they do in many of their January 6th briefs. While the PSR and the governments sentencing
brief may re-tell the story they are, but a shadow of the direct light given from Mr. Taylor to this
Court. We ask the Court to look directly at what it heard with your own ears and saw with your
own eyes and make its evaluation of Mr. Taylor. The Court is also able to distinguish between
Hostetter’s behaviors of January 6th until now and Mr. Taylor’s very different conduct and
attitude toward his actions from then until now. Thus demonstrating how very different they are.
         At trial Mr. Taylor testified while others asked the questions. Mr. Taylor accepted his

4 Justice Scalia noted in his Dissent in Booker “that Congress was so attached to having judges determine “real
conduct” on the basis of bureaucratically prepared, hearsay-riddled presentence reports that it would rather lose the
binding nature of the Guidelines than adhere to the old-fashioned process of having juries find the facts that expose
a defendant to increased prison time.” In this case the Court may be assisted by the governments brief and the PSR
but the best and most authentic source is what your Honor has seen and heard directly from Mr. Taylor and others
during multiple presentations.
5 Mr. Taylor gave up his fifth amendment right to remain silent fully understanding that everything he said could
and would be used against him here and now in this very hearing – further evidence of his acceptance at a core level.

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responsibility while others denied their acts. Over the course of two days of testimony Mr.
Taylor’s demeanor, directness, acceptance of responsibility, truthfulness, and cooperation were
on display for this Court to evaluate. The Court already knows Mr. Taylor’s errors, confessions,
and attempts at redemption we are content to leave it in your hands.


                                     MR. TAYLOR COOPERATED


        Mr. Taylor had hoped that this section would be short and reflect an agreement with the
government’s position of his cooperation as opposed to challenging it. Sadly, the government has
seen fit to discount Mr. Taylors cooperation for whatever motives elude us.6
        It is a given that the government makes no promises that when one cooperates, they shall
receive any recommendations. Still, they took what they could use, and Mr. Taylor must trust
them explicitly in anything they might say to the Court on this subject. At the same time there is
a faith that when that letter arrives it will be fair and consistent with other letters of
cooperation’s. There is a cooperators belief that the more substantial the cooperation the more
the government will appeal to the Court for a revaluation of the individual. After all there is an
entire section in the USSG under section 5k1.1 and numerous Primers dedicate to this
proposition.
        But here the government seems to have lost its way and now leaves the decision of how
to determine proper credit in the hands of the Court. An excellent reminder of why we have both
criminal defense attorney’s mandated in the Sixth Amendment to point out the inconsistencies
and a sperate judiciary to balance the executive’s branch’s sometimes erratic behaviors.
        The government’s brief first appears to mark up their recommended sentence far beyond
the PSR and the Guidelines and then sort of marks it back down – still well above the
Guidelines. Then they try to sell it as a 40% discount when it really is a 100% increase (if the
Court took the high end of a 16 Guideline of 27 months as its base)
        The next afront is the recommendation of only 4 points for Mr. Taylors cooperation. In
30 years of criminal defense Mr. Taylors attorney has never seen less than 6 points for defendant



6 This entire section had to be added on April 29, 2024 at 10:00 PST after Mr. Taylor had the chance to see the
government’s brief thus causing a near re-write of the entire Sentencing Memorandum of Mr. Taylor. It’s now past
1:15 A.M. on the 30th but Mr. Huish is committed to having this to the Court before it opens on Tuesday the 30th.

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who testified at trial but here the government suggests 4 points. Perhaps this is consistent with
practices in the District and counsel is mistaken but it sure feels shallow.
       Furthermore, it was not just his credible testimony. Below is a list of specific activities of
cooperation by Mr. Taylor. Additionally, there were many times he received calls for
information which he responded to directly and also requests to review exhibits or documents,
which he always did. Every flight, hotel and travel expenses were paid for by Mr. Taylor for
every single trip.


       1. Taylor and Huish travel to D.C. and met AUSA/FBI agents - December 1 -3 2021.
       2. Taylor was asked to review videos for the AUSA to discuss. He did so in preparation
           for next meeting. Estimated 8 hours or review.
       3. Taylor and Huish travel to D.C. and met AUSA/FBI agents - February 12-15, 2022.
       4. Taylor and Huish travel to D.C. and met AUSA/FBI agents - January 9-11, 2023.
       5. Taylor and Huish travel to D.C. and met AUSA/FBI agents - April 18-20, 2023.
       6. Taylor and Huish met with AUSA and FBI in Orange County May 24 and 25, 2023.
       7. Taylor participated in multiple calls on unspecified dates in June of 2023 with
           AUSAs in preparation for trial.
       8. Taylor and Huish travel to D.C. and met AUSA/FBI agents in preparation for trial of
           Hostetter July 3-8, 2023.
       9. Taylor was also sent exhibits to review and prepare for testimony - which he and
           counsel did at great lengths on or around June 29, and then again around July 6, 7,
           and 8.
       10. Taylor also met with AUSA’s in or around late September and Early October for the
           Co-Defendant trial.
       11. Taylor met on or about September 29, 2023
       12. Taylor had at least one Zoom Call and a phone call of significant length.
       13. Taylor then remained all call for that entire trial having to make and cancel numerous
           travel plans.
       Furthermore, in the first meetings with Mr. Taylor the government made it clear that
cooperation credit was unlikely given the nature of the case. Still Mr. Taylor persisted on
meeting with them as a way to show remorse. Mr. Taylor’s cooperation was both substantial and

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demonstrates his attitude towards January 6th events. It informs the government and the Court
that perhaps Mr. Taylor’s behavior that day came from a different place than that of other
defendants evidenced by his willingness to accept responsibility.
       Mr. Taylor also desires to inform the Court of the unusual conundrum created by his
cooperation. Those who still support the events of January 6th see him in hostile terms for his
admissions and cooperation. He has been treated harshly by some people and had veiled personal
threats. At the same time those on the other side of the issue shun him because he went to
Washington D.C. in the first place. Mr. Taylor is on the Domestic Terrorist list and counsel has a
reasonable belief that if he is given custody time, he will find no safe harbor and will be under
the threat of physical danger. This is an added variable and a type of punishment that should be
considered.
       Further evidence of his ongoing value was demonstrated three weeks ago when the
government cited Mr. Taylor’s admissions as evidence against his Co-Defendant’s by using his
Statement of Offense (“for a short summary of the January 6, 2021, attack on the United States
Capitol. ECF No. 197 at ¶¶ 1–7.” )(ECF No. 452 P. 3) to enhance their Sentencing Memorandum
against Warner, Mele et al.
       One might also question the governments motives in the recommendation of 4 points as
opposed to 5. A 5-point reduction on a 16 is an 11 taking us in to Zone B. Of course, they still
cling to their arguments which ignore the Brock case, but we will look at that later in the brief.
how it reflects on him.
       One final note: Mr. Taylor subjected himself to the questioning of the government and
Hostetter but did not have the chance at questions from his own attorney. Certainly, there would
be a softening of events and insights from those question. But this is not what happens when you
cooperate, you open yourself to two hostile opponents and their questions and then step down
from the stand. This too is the mark of cooperation and acceptance which should be considered.


               MASKS AND HIS VENTURE INTO POLITICAL PROTEST


       Mr. Taylor was not a politically active man before the Covid-19 outbreak, nor has he
been since January 6th 2021. While he does have strong patriotic feelings based upon deep
religious sentiments, he had no real involvement with political activities or protests. That was

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until the Covid Restrictions were instituted by Governor Gavin Newsom in California.7 With
curfews, mask mandates, limits on movement, and prohibition of church meetings Mr. Taylor
felt it incumbent upon him to protest what he believed were overly intrusive government orders
that eliminated basic personal rights.8 His frustration led him to spontaneous Beach Church
meetings where he first met Hostetter. This led to Covid protests which then morphed into
concerns about the election and ultimately his acceptance of former President’s Trumps calls to
assemble on January 6th .
        After Mr. Taylor returned from Washington D.C., he began to distance himself from
Hostetter and others. Before he was indicted and after January 6th he was never again involved in
any type of protest, rally, meeting, social media chat groups, or political gripe. Mr. Taylor saw
Hostetter twice, briefly, face to face and talked to him but a scant few times. Hostetter was
escalating his rhetoric and Mr. Taylor was headed in the opposite direction. After they were
indicted in June 2021, Mr. Taylor never spoke to him, outside of this Court, again. Since June of
2021 Mr. Taylor has not done anything politically related, no anti-social activities, no protests,
no chat rooms, nor on-going rants. Not once. Nor does he live in the fantasy that somehow
January 6th activities were acceptable behavior. Never before, and never since.


                                             THE CIVIL SUIT


        On August 26, 2021, “The Lawyers' Committee for Civil Rights Under Law” filed a
lawsuit on behalf of seven Capital Police Officer who were injured on January 6th. That case is
entitled Smith v. Trump et al (1:21-cv-00400) and assigned to Judge Amit P. Mehata. Former
President Trump was deemed the lead defendant, and 25 others were lumped into the case,
including Mr. Taylor. The plaintiffs are extremely well-funded by an unknown political group.9




7 The Court may recall Mr. Taylor testified to the draconian mandates in California. The Court was somewhat
surprised to learn that California had instituted mandatory curfews during the Covid year amongst other extreme
measures.
8 This order is issued pursuant to California Health and Safety Code sections 120125, 120130(c), 120135, 120140,
120145, 120175,120195 and 131080; EO N-60-20, N-25-20, and other authority provided for under the Emergency
Services Act; and other applicable law.
9 The Lawyers' Committee for Civil Rights Under Law have created a web site which outlines this case.
https://www.lawyerscommittee.org/smith-v-trump/


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The case was brought under numerous novel and politically motivated theories. Mr. Taylor had
no contact directly or indirectly with any of the named plaintiffs.
        From the outset Mr. Taylor sought to resolve this civil case as another way to make
amends for his participation on January 6th. Included are two letters from attorney’s that
participated in the civil suit and had occasion to observe Mr. Taylor’s demeanor. The first is
from Plaintiff’s Counsel Edward Casper. (EXHIBIT 1). The second is from Attorney John
Clifford who assisted in the mediation on behalf of Mr. Taylor (EXHIBIT 2). Both letters inform
this Court of how Mr. Taylor, unlike everyone else in that case, sought to settle the matter from
the outset. He was the only defendant to suggest mediation to Judge Mehta who then assigned
Magistrate Judge Moxila A. Upadhyaya to the matter. Mediation was successful and Mr. Taylor
agreed to a substantial settlement payment.10
        Mr. Taylor also agreed to spend substantial time debriefing the Plaintiff’s Attorney’s.
He has met with them personally and cooperated in their investigation in all ways requested.
        The parties have agreed the dollar value of the financial settlement can be told to the
Court and government under seal to protect plaintiff’s civil suit and proceedings. Mr. Taylor had
to borrow the money to make the payment. The full sum has been paid.


                    CITIZENSHIP CLASS AND COMMUNITY SERVICE


        There can be no divided allegiance here. Any man who says he is an American, but
        something else also, isn't an American at all. We have room for but one flag, the
        American flag.

                                                         -Theodore Roosevelt

        One thing that seems to have been forgotten these days is that we are Americans first, and



10 The Following is an excerpt from Mr. Taylor Mediation Brief: “Mr. Taylor is not without a serious
defense to Plaintiffs’ claims. Plaintiffs have chosen an unusual course in lumping Mr. Taylor in with such
an eclectic group of defendants. Mr. Taylors actions on January 6th did not directly cause harm nor
injury to any individual. Furthermore, Mr. Taylor may have helped organized a group of people to come
to Washington D.C. but the reality is that almost no one from his group showed up. There is no known
connection between Mr. Taylor and anyone that caused any injury to any plaintiff on January
6th….Fundamentally, plaintiffs will have a serious challenge in proving a case against Mr. Taylor.”
         .


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not political parties. To reconnect with his citizenship Mr. Taylor enrolled in and completed the
civic course which immigrants seeking naturalization must take. There he was reminded that
America may have political parties (even though President Washington warned us against such)
but it is our citizenship as Americans which should be prized above all. (EXHIBIT 3)
         One of the most basic and essential elements of being an American is that we demand, as
a national right, the peaceful transfer of power. Whether it is the local City Counsel or the halls
of the White House, power must be abandoned for the newly elected. In his classes Mr. Taylor
was reminded of this most critical function of citizenship. If one disputes an election, then we
turn to the wisdom and independence of our Courts who review real evidence and seek to ensure
fair play. These classes were a reminder of our Constitutional principles. One of his thoughts
after taking the course:

         “I had taken my citizenship for granted most of my life. I knew I loved my Country, but I
         did not realize what others did to become Americans. They study, sacrifice, and give up
         their past for a new future. This course reminded me of my good luck to be born an
         American. It also reminded me of why January 6th was so very unacceptable.”

         Mr. Taylor also participated in Volunteer Community Service as a means of giving
something back while he awaited sentencing. He completed over 300 hours at South County
Outreach distributing food to those in need. Attached is a letter from the organization
demonstrating his willingness to serve and verifying his contribution. (EXHIBIT 4)


                                       LETTERS OF REFERENCE


         It is customary to include letters of references to assist the Court in evaluating the
individual. But what good are these letters if they do not come from well informed citizens?
Accordingly, Mr. Huish gave each person a letter of instruction explaining their purpose and Mr.
Taylor’s official Statement of Offense (EXHIBIT 5). The recipients were asked to be fully
versed with Mr. Taylor’s criminal actions before writing the letter.11 We had more than 20
submission but chose a representative eight to avoid repetition. These letters give the Court


11 A few letters had been given to counsel, unsolicited, over the past few years. All were returned with instruction
to read the Statement of Offense and make any changes they saw fit. No letters have been submitted to this Court
that did not receive this packet.

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honest insights into the character and remorse of Mr. Taylor. (EXHIBIT 6)
          Perhaps the most insightful letter is from Mr. Taylor’s wife, Deborah Taylor
(EXHIBIT 7). She was asked to discuss to Mr. Taylor’s flaws as opposed to good
characteristics. Mr. Taylor submits these letters as further evidence of his character, how he
became involved with the January 6th events, his protective nature, and his quest for redemption.


                          TWO SPECIFIC ISSUES OF JANUARY 6TH


First: We would ask the Court to remember that Mr. Taylor did not enter the Capital nor act on
his statements or bravado. He stopped and used restraint – too late in some respects but not in
others.
          During the detention hearing in June of 2021, the Government sought to keep Mr. Taylor
in custody. They presented essentially the same facts, photos, opinions, and arguments they have
during these entire proceedings. Their current brief is fundamentally no different. This Court
reviewed those facts, photos, and arguments and made the following finding and thereafter
released Mr. Taylor:


          “Several facts, however, seriously undermine the government’s ability to show an
          identifiable and articulable threat. First, unlike in Munchel, defendant did not go into the
          Capitol building on January 6. In fact, he declined to do so because he was carrying a
          knife. Second, six months have passed since the January 6 riot and defendant has not
          acted on his statement.” (ECF 16 P. 3)


          Nothing has changed since June 15, 2021, except Mr. Taylor has now validated this
Courts trust for nearly three additional years.


Second: There is one question never asked of Mr. Taylor during his testimony. Why did you
have the weapons?
          Mr. Taylor had been asked this question by the government numerous times over the




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years and his answer was always the same.12 He told them that he took the weapons because he
thought there would be a conflict with ANTIFA and felt he needed to protect others in such an
event. He also added that they were not going to be stopped should ANTIFA instigate trouble.
         Mr. Taylor had several contacts with Police on January 6th including being pepper
sprayed directly in the face and the infamous and embarrassing photo of him flipping off the
police as he walked past, but at no time did any weapon ever get removed nor used.
         For most of his life Mr. Taylor, and well before this case, generally carried a knife. It was
something he did daily, part boy scout, part functionality, part his protective nature, it was who
he was (emphasis on the word “was”.) Neither the knife nor the axe was ever removed on
January 6th. He admits he was wrong to have the weapons on to Capital grounds, he makes no
excuse, but he does want the Court to know this one additional fact.


                                                  USSG §3B1.1(b)


         Mr. Taylor makes a singular argument under USSG §3B1.1(b) in that he was not a
manager supervisor but rather an organizer and thus should only receive a 2-point enhancement.
While Mr. Taylor did organize the online chats and certain meetings he was never in charge, and
he never supervised nor managed anyone.
         Mr. Taylor testified that Alan Hostetter was the leader and that he followed his
instructions. Mr. Taylor stated that he always cleared everything through Hostetter. Mr. Taylor
also testified that no one in his online chats showed up on January 6th except Hostetter,
Hostetter’s wife, and a Mr. Smith.13
         As for “recruiting” this feels like an exaggeration or a result driven characterization
rather than what was real. January 6th was a loose association of characters all acting with
perhaps a single purpose and interconnected by that singular goal. While a few specific groups
did coordinate an attack, others were linked through social media or texts. These groups were not

12 Perhaps the government did not believe this or felt like it was not helpful to their case. Whatever their tactical
reason is not important. What is clear is that he told why he had the knife and axe. He mentioned the fear he had
about ANTIFA in numerous pre-January 6th texts. He wore the knife in plain view and never removed any weapons.
13 As for the much-discussed American Phoenix Project this was nothing more than three guys doing an awfully lot
of talking to themselves (Hostetter, Taylor and Smith). It may sound ominous, and Mr. Hostetter may have wanted it
to be something more, but it never amounted to anything of consequence except what this Court has seen as it relates
to Hostetter. They had no other members and Taylor and Smith were in and out within just a few months.


                                                             14
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controlled organizations with a leader/s but more akin to the rants and ramblings of the masses.
        Social Media is not managerial based but rather organic in that anyone can join or
participate in a certain conversational group. Mr. Taylor may have started the technical links of
the chat rooms, but he was not out recruiting. Instead, what he stated was that the Warner, Mele,
Kinnison, et al jumped into the group on their own. The men discussed things each could do that
day to communicate in the event of trouble. Unlike the Proud Boys or Oath Keepers the much
discussed D.C. Brigade was a fancy group chat title not a real organization. Mr. Taylor was
obviously organizing this group, but he had no control over any of them at any time. He had
never met any of these Co-Defendant’s before. On January 6th, he met them by chance on the
steps of the Capital later in the day. Once together they took a few photos together and moved
on. He did not exercise any control over them. He did not have a plan to receive a larger share of
any fruits of the crime. Mr. Taylor feels confident postulating than there is not a single person
that would say Mr. Taylor was in charge of them that day. But they all would agree he was a
primary organizer of the communication network they all used. Thus, he was unmistakably an
organizer, but not a manager.
        The government also postulates in its brief that Mr. Taylor “led a mob that overran a
police line on the inaugural stage and stormed the Capitol.” Perhaps the word “led” is how they
want to view his actions but, in his testimony, photos, and videos Mr. Taylor was on the side of
the balcony in the middle of the scrum that pushed against a barrier where Police were. He
certainly was not in the front leading anyone. But again we leave this to the Court who is still
the best Judge of what it hear in trial.


                          MR. TAYLOR HAS A MEDICAL CONDITION
                               THAT SHOULD BE CONSIDERED

    Mr. Taylor is man of large stature weighing over 425 pounds. He is built like an NFL
lineman, but his extra-large frame does come with some serious medical issues. Primarily, Mr.
Taylor suffers from extreme sleep apnea. Every night he is required to use advanced sleep apnea
equipment or risk serious consequence which do include death. We submit his medical report to
assist the Court in determining if a further departure is warranted.14 (EXHIBIT 8)

14 See, e.g., United States v. McFarlin, 535 F.3d 808, 810–12 (8th Cir. 2008) (variance to a sentence of probation
was warranted in part based on the defendant’s “poor health” and “need for medical care”); United States v. Myers,

                                                            15
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            GENERALLY CASES SHOULD BE CONSISTENT IN SENTENCING
                   HOWEVER, MR. TAYLOR IS DISTINCTIVE

         U.S. Solicitor General Elizabeth Prelogar recent told the Supreme Court during oral
arguments during the Unites States v. Fischer that the average 1512 (C)(2) convictions result in
24-26 months in prison. We take her at her word even if the government continues to seek to
radically alter the average with novel theories. Mr. Taylor also notes that in similar cases before
this Court, such as his Co-Defendants (except Hostetter), a Guideline Sentence without an
upward departure or variance has been the norm.
         As usually the government once again reached into its bucket of boilerplate briefs and has
attempted to throw every noodle against the wall in the hopes that something sticks. They seek
once again to circumvent the Brock case as if the Circuit Courts ruling and the District Courts
sentences are invisible to them. Perhaps this is why they made not a single mention of the
sentence of Warner, Mele, Kinnison, or Martinez. But none of these overreaches should apply.
Perhaps this is why the Solicitor General statement to the Supreme Court holds true to what the
District Courts are deciding and thus demonstrate the proper range of sentences.
         But in this case, Mr. Taylor has demonstrated that he not the average January 6th
defendant but different in all that he has done to accept responsibility, cooperate, and make
amends where possible. A proper sentence, accounting for all he has accomplished, would be
well below average and thus a type of probationary sentence as the Court deems appropriate.


                                                  CONCLUSION


         Crime must be punished but balance, rehabilitation, the improbability of re-offense, and
the life well lived do become part of the calculous and wisdom that is required when a man is
sentenced for his bad act. The selfish acts of January 6th do warrant punishment, but they may
also be tempered for the right defendant. There has never been a time in our nation’s history
when the sirens song of a sitting President created such a rancor of bad acts. Should the Court be
inclined, perhaps it might see a slight difference from those typical crimes, born of individual


503 F.3d 676, 687 (8th Cir. 2007) (“The district court did not abuse its discretion in finding that a shorter period of
incarceration, with mental health treatment and supervised release, is the most effective sentence.”). 223 See, e.g.,
United

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greed, as compared to Mr. Taylor’s foolish criminal act of January 6th when he accepted the plea
of a man seeking to remain in power.
       Accordingly, Mr. Taylor presents himself as a candidate for a probationary sentence.
Probation is a well-worn old shoe that has proven to serve both society and the offender. It is a
type of fitting sentence when wisely used and within suitable limits that fit this type of
circumstance. Mr. Taylor’s guilty conduct has come and gone, never to return but he will never
shed the scars of this felony conviction. That also is a punishment.
       While the crime that January day was tragic and caused this Country pain, so too is the
application of the balm of mercy and reconciliation. A balm that can heal both the individual and
a nation. The question is, will he perform as presented and be worthy of that balm?
       Indeed, Mr. Taylor has proven to this Court that he is a dog that can hunt.




Dated April 25, 2024


                       Respectfully Submitted,
                       Law Offices of Dyke Huish




                       _______________________________
                       Dyke E. Huish
                       Attorney for Mr. Russell Taylor




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                         ADDENDUM 1
                        FAMILY PHOTOS




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                       VOLUNTEER WORK




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               COACHING, SCOUTS, AND CHURCH




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                           EXHIBIT 1

                     LETTER RE CIVIL CASE

             PLAINTIFFS COUNSEL EDWARD CASPER

             SHOWING MR. TAYLOR’S COOPERATION




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                           EXHIBIT 2

                     LETTER RE CIVIL CASE

                   ATTORNEY JOHN CLIFFORD

        SETTLEMENT AND RESGINATION OF MR. TAYLOR




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                                    JOHN S. CLIFFORD
                                    ATTORNEY AT LAW
                                     Tel: (949) 306-9010
                                   Email: jscesq@gmail.com


Dear Judge Lamberth,

My name is John Clifford. For the last five years I have been the corporate attorney for Russell
Taylor’s former employer, Fusion of Ideas. I write at the request of Attorney Dyke Huish to
provide the Court with my experience with, and impressions of, Mr. Taylor involving the
settlement of the civil case entitled Smith, et.al. v. Trump, et. al. civil case: 1:21-cv-02265-APM
(the “Civil Case”). I have read the complaint and plea agreement; accordingly, I am fully aware
of Mr. Taylor’s actions leading up to and including January 6, 2020. As detailed below, Mr.
Taylor’s desire to acknowledge that he was wrong in the criminal matter is entirely consistent
with his acceptance of responsibility in the Civil Case.

Facts Preceding the Civil Case

My primary contact for the business has always been Mr. Taylor’s wife Deborah. Prior to the
capital riot, I knew Mr. Taylor as a well-educated and devoted family man who was a great
support to his wife in the operation of Fusion of Ideas.

Within days of Mr. Taylor returning from Washington D.C., well before he learned he was being
investigated, Mr. Taylor informed that he was concerned about what had occurred at the Capital.
As a result, I was given the unfortunate task of allowing Mr. Taylor to resign from an otherwise
successful and productive employment with Fusion of Ideas.

The Civil Case

Long after Mr. Taylor’s separation from Fusion of Ideas, Mr. Huish asked for my assistance with
the certain procedural matters, including mediation, in the Civil Case. It appeared from review of
the case that a local D.C. law firm took up the cause of seven Capital Police Officers who were
injured on January 6th.

While I believe that Mr. Taylor had several solid legal and factual defenses available to him in
the Civil Case, Mr. Taylor was insistent that the focus of the Civil Case should be limited to
reaching a settlement with the plaintiffs in the Civil Case as part of the process of making both
amends and restitution. As a result, rather than engage in motion practice, at Mr. Taylor’s
direction, Mr. Huish requested that the parties enter into mediation. It is my understanding that
he was the only defendant to mediate with the plaintiffs. During the course of the mediation, I
was directly involved in the full and final resolution of the case with Magistrate Judge Moxila A.
Upadhyaya. My observation of Mr. Taylor was of a man who wanted to pay his debts and move
forward. Although I felt the total dollar value was too high, Mr. Taylor was insistent on reaching
a settlement. As a result, he agreed to borrow the money and, as of January, 2024, it is my
understanding he has paid the agreed upon settlement amount to plaintiffs.




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                                     JOHN S. CLIFFORD
                                     ATTORNEY AT LAW
                                      Tel: (949) 306-9010
                                    Email: jscesq@gmail.com


Candidly, I was initially reluctant to assist Mr. Huish and Mr. Taylor with any aspect of the Civil
Case because of my strong personal feelings about the Capital riot. Simply stated, I believe that
the events of January 6, 2024 were wrong and that any attempt to interfere with the peaceful
transfer of Presidential power harms the Republic. Before agreeing to provide assistance, I
insisted on the opportunity of speaking to Mr. Taylor and letting him know my concerns. To his
credit, Mr. Taylor not only listened to what I had to say on this subject, but he asked questions,
expressed understanding and remorse. I have no doubt as I write this that Mr. Taylor
understands and regrets his actions. The reality of what occurred and the damage that January 6th
brought to our country cannot be diminished. However, watching Mr. Taylor take responsibility
in the civil case is a stark contrast to those who continue to ignore or deny what took place on
that dreadful day. I believe that Mr. Taylor will avoid any sort of political activism in the future.
I have no doubt that Mr. Taylor will not be returning to any sort of political activism.

I remain available to answer any questions or concerns.

Sincerely,



John S. Clifford
Attorney at Law




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                           EXHIBIT 3

                CERTIFICATE OF COMPLETETION

                     OF CITIZENSHIP CLASS

                 BRIGHMA YOUNG UNIVERSITY




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                                             BRIGHAM YOUNG UNIVERSITY
                                                 Department of Continuing Education
                                                         Independent Study
                                                        229 Harman Building
                                                       Provo, UT 84602-1514
                                                           (800) 914-8931
                                                          http://is.byu.edu


August 31, 2021




To Whom It May Concern:

This letter is being sent to verify enrollment for Russell Taylor. Independent Study students are encouraged to complete their courses
as if they were under the same deadlines as regular students; however, they have one year from the date of registration to complete
each course. Enrollment in Independent Study courses does not constitute any status of enrollment at Brigham Young University.

Russell Taylor is enrolled in the following course(s):

Course Title                                                           Enrollment Date         Expiration Date         Credit Hours
GOVT 041: American (U.S.) Government and Citizenship (Free)              Aug 31, 2021            Dec 1, 2021                0.00


Because students have one year to complete their courses, Independent Study does not provide enrollment status. The BYU
Independent Study DOE accreditation code is 003670. If you have any questions regarding the student’s status, please do not hesitate
to contact our office.


Sincerely,


BYU Independent Study
indstudy@byu.edu
(800) 914-8931
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                           EXHIBIT 4

                  PROOF OF 300 PLUS HOURS OF

               VOLUNTEER COMMUNITY SERVICE




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April 16, 2024

Re: Character Reference for Russell Taylor

Dear Judge Lamberth,

I am writing this letter as a Board Member of South County Outreach, where I
have had the distinct pleasure of working alongside Russ Taylor for over a year.
It is with great honor and respect that I provide this character reference to
highlight Russ Taylor’s exceptional contributions, work ethic, and unwavering
commitment to serving our community.

Throughout his time with us for almost 2 years, he has dedicated over 300 hours
to driving our delivery truck, a critical role that involves retrieving food donations
from local grocery stores. These contributions are fundamental to the operations
of our food pantry, which serves numerous families in need across our
community. Russ Taylor has shown not only reliability and dedication but also
profound compassion in his eﬀorts to ensure that these vital supplies reach
those most in need.

Russ Taylor’s commitment extends beyond the physical tasks required. He has
demonstrated a deep understanding of the challenges many of our beneficiaries
face and approaches his work with a heartfelt drive to make a tangible
diﬀerence. His service, which he has generously given without expectation of
remuneration, reflects a commendable selflessness and a genuine desire to
contribute positively to the lives of others.

The extent and consistency of his service, especially considering it spans more
than a year, are a testament to his strong work ethic and dedication. His eﬀorts
have not only been invaluable in terms of operational support but have also
been inspirational to our staﬀ and other volunteers. Russ Taylor embodies the
spirit of community service and responsibility that we hold dear at South County
Outreach.

We are truly grateful for Russ Taylor’s dedication and are fortunate to witness his
growth and impact firsthand. His actions have undoubtedly enriched the lives of
many, providing not just food, but hope, to families facing hardship.

It is without hesitation that I recommend Russ Taylor for your consideration. His
character and dedication are evident in every hour of service he has committed.
As Russ Taylor stands before you, it is with a genuine hope that his positive
impact and continued potential to serve the community are recognized and
valued.
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Thank you for considering this perspective on a truly remarkable individual.
Should you require any further information, please do not hesitate to contact
me.

Sincerely,



Board Member, South County Outreach
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                                             Community service
Location       Representative     Date                Total hours         394
Location

South County   Cassie Owens                 7/20/21                  3
Outreach

South County   Cassie Owens               7/27/2021                  3
Outreach

South County   Cassie Owens                8/5/2021                  2
Outreach

South County   Cassie Owens               8/10/2021                  3
Outreach

South County   Cassie Owens               8/17/2021                  4
Outreach

South County   Cassie Owens               8/31/2021                  4
Outreach

South County   Cassie Owens                9/7/2021                 5.5
Outreach

South County   Cassie Owens               9/14/2021                 3.5
Outreach

South County   Cassie Owens               9/21/2021                 3.5
Outreach

South County   Cassie Owens               9/22/2021                 3.5
Outreach

South County   Cassie Owens               9/28/2021                  4
Outreach

South County   Cassie Owens               10/5/2021                  5
Outreach

South County   Cassie Owens               10/7/2021                  4
Outreach

South County   Cassie Owens              10/12/2021                  5
Outreach

South County   Cassie Owens              10/14/2021                  4
Outreach

South County   Cassie Owens       10//19/2021                        4
Outreach

South County   Cassie Owens       10//21/2021                        5
Outreach

South County   Cassie Owens       10//26/2021                        5
Outreach

South County   Cassie Owens               11/2/2021                  5
Outreach

South County   Cassie Owens               11/9/2021                  5
Outreach

South County   Cassie Owens              11/16/2021                  5
Outreach

South County   Cassie Owens              11/30/2021                  5
Outreach

South County   Cassie Owens               12/7/2021                  5
Outreach

South County   Cassie Owens              12/14/2021                  4
Outreach

South County   Cassie Owens              12/16/2021                  5
Outreach

South County   Cassie Owens              12/21/2021                  5
Outreach
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South County          Cassie Owens                  12/23/2021                     5
Outreach

South County          Evan Colburn                  01/04/2022                     5
Outreach




                                                                               1
Location              Representative         Date                Total hours           39
                                                                                        4

South County          Evan Colburn                    1/6/2022                     5
Outreach

South County          Evan Colburn                   1/13/2022                     3
Outreach

South County          Evan Colburn                   1/18/2022                     5
Outreach

South County          Evan Colburn                   1/20/2022                     4
Outreach

South County          Evan Colburn                   1/25/2022                     4
Outreach

South County                    Fruit tree           1/29/2022                     4
Outreach                       harvesting

South County          Evan Colburn                    2/1/2022                     4
Outreach

South County          Evan Colburn                    2/3/2022                     3
Outreach

South County          Evan Colburn                    2/8/2022                     5
Outreach

South County          Evan Colburn                    2/9/2022                     4
Outreach

South County          Evan Colburn                   2/17/2022                     4
Outreach

South County          Evan Colburn                   2/22/2022                     4
Outreach

South County          Danny                          2/24/2022                     3
Outreach

South County          Danny                           3/1/2022                     4
Outreach

South County          Danny                           3/3/2022                     4
Outreach

South County          Danny                           3/8/2022                     4
Outreach

South County          Danny                          3/15/2022                     4
Outreach

South County          Danny                          3/17/2022                     3
Outreach

South County          Danny                          3/29/2022                     3
Outreach

South County          Danny                           4/5/2022                     5
Outreach

South County          Danny                          4/12/2022                     3
Outreach

Tavi fairy festival   Stephanie                        4/28/22                     3

Tavi fairy festival   Stephanie                      4/29/2022                     4

South County          Cassie                          5/5/2022                     2
Outreach
                                  Case 1:21-cr-00392-RCL Document 485 Filed 04/30/24 Page 35 of 60




South County      Cassie                       5/10/2022                  4
Outreach

South County      Cassie                       5/17/2022                  4
Outreach

South County      Cassie                       5/19/2022                  5
Outreach

Smugglers         Raptors and                       2023                 50
runs              veterans
veterans
experience

Just serve        Just serve               Nov 18, 2023                   5
baseball gloves




                                                                         2
Location          Representative        Date               Total hours         39
                                                                                4

Nursery child      LDS church           2022-2023                        100
care at church    covenant hills ward

JUST serve -      Just Serve               January 2023                  15
homeless
shelter socks
and blanket
project




                                                                         3
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                           EXHIBIT 5

             LETTER FROM ATTORNEY DYKE HUSIH

                  GIVEN TO EACH INDIVIDUAL

           ASKED TO WRITE A LETTER OF REFERENCE



            THE STATEMENT OF OFFENSE WHICH WAS

  GIVEN TO EACH INDIVIDUAL IS NOT INCLUDED AS AN EXHIBIT

               BUT CAN BE REFERENCED AT CASE

         1:21-cr-0392-RCL - DOCUMENT 197 FILED 04/19/23




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                           EXHIBIT 6

                LETTERS OF RECOMMENDATION




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      Nathan Ure
      24 Wild ower Place
      Ladera Ranch, CA 92694


      April 15, 2024


      To Judge Lamberth:


      My name is Nathan Ure and I am a member of the Ladera Ranch community. I understand the
      severity of the decision the court is facing in sentencing Russ Taylor. I respect the nature of the
      task and hope that l can share some character observations that could have a positive effect on
      the way he is seen by the court. I'm sure that there are many letters because he's loved by so
      many, but my perspective may be quite different because of diverging perspectives and lives.

      I have known Russ Taylor in many different settings during the 6 years of friendship. I have
      known him as a neighbor, church congregant, in youth sports, businessman, and most of all
      friends. He is generous in every one of those areas. I became connected to him, his wonderful
      wife Debbie, and their beautiful children when I had a church ministering assignment to watch
      out for them. His kindness, openness, sincerity, and generosity warms the hearts of all he comes
      in contact with.

      I have watched   him coach my son in his sports with an enthusiasm so infectious I knew it really
      boosted him. I have older children and during holidays he employed them at his work. They
      responded so well to the work cultural environment they experienced there. I referred a close
      friend to purchase a large order of holiday gifts and their experience with the creative design
      and implementation was just incredible. That's all-typical Russ.


      What may be different, and brings me to tears, is that when I went through some very dif cult
      moments in my life his huge heart has shown through yet again. I recently made the dif cult
      decision to come out as a gay man in a very conservative and tight knit community. It's been
      harder than I could have imagined. There are some who have been there for me, and many who
      have receded from my life. But Russ? Not a moment of awkwardness, and just enthusiastic love.
      There were so many dark years that led up to this and the path has been harder than I ever
      could have imagined, but when it came to Russ, there wasa huge bear hug waiting for me and
      ongoing expressions of love and concern for me.


      I have a lot of thoughts about the tragedy of what he got caught up in on January th and I have
       different political perspectives. I know he's well beyond the reach of some really bad ideas that
      gripped far too many people to believe. He's done with all of that now. I know it because he has
      said it to me in quiet private moments that mattered. I have large responsibilities   professionally
      in which I must judge character and honesty in a way that affects several thousand of my
      employees. I know with all my heart he's done with all of the nonsense that brought this
      calamity and will be the most upright of citizens.
fi
fi
 fl
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We need him and his big heart to stay home. Be in the community. And love people. He loves
everyone. That's who Russ Taylor is. He's inclusive. He's got a big heart. And he's ours. It would
be a privilege to speak to anyone on his behalf.

Kind Regards,




Ne
Nathan Ure
nathanure@gmail.com
661-877-7937
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Dear Judge Lamberth:

My name is Chris Hulme. Russ is my brother-in-law and I have known him for over 20 years.

Now, you’re probably thinking, I’m going to write a bunch of stuff about Russ just to try and help him out. But really,
it’s completely selfish of me, because I love him beyond words, and want to continue being allowed to spend time
with him in the foreseeable future.

Not only is he my good friend, he’s also a wonderful uncle to my children, and a valuable support to the rest of the
extended family. When we get together, he’s always bringing good energy, thoughtfulness, and love with him.

During Covid, we couldn’t go to church because everything was closed, and Russ organized regular family sacrament
services to lead the extended family in Sunday services from his home. During this time, he prioritized bringing the
spirit of God into his home over other personal things he could have been doing instead. We didn’t sit around and
watch sports on Sunday. We spent quality time with the children, playing games, going for walks, and raising them to
be wholesome people with meaningful experience to support them later in life.

On top of that, he got involved with Sunday beach church meetings, a few of which I went to with him. In fact, I’m
pretty sure that’s how he met Alan Hostetter, and definitely where I met him for the first time. At first, these meetings
focussed primarily on God, the Bible, and those of us in attendance were gathering together to celebrate Jesus Christ
and support one another in good Christian living. And looking back, I’ll forever be grateful to Russ for inviting me to go
with him… for it was a great alternative to having no church to go to at all (with everything else being closed).

Unfortunately, as time went on, I noticed that these beach church meetings began to serve as a place for people to
voice their opinions on whatever most recent Covid limitations California had placed upon its residents. And the
people in attendance were more than frustrated, feeling helpless in the situation. We all sensed something was wrong
with the way Governor Newsom forced restrictions. And as Covid and mask restrictions became even more intense, I
think Russ just become more and more concerned about what he could do to help.

Unlike any other time in recent US history, many of us felt our individual freedoms were under attack, and Russ in
particular felt motivated to take a stand for what he felt was right… because he really felt it was wrong what was
happening.

So, being the resourceful and properly motivated person he is, Russ helped organize events to promote patriotism
and awareness around his opinions and views, many if not all of which were supported and enhanced further by
others in the beach church group, including Alan Hostetter.

In fact, Alan Hostetter seemed to have a particular ability to get Russ’s attention, and perk his interest. I never did
understand that, being someone who he had only recently met… why was he so interested in spending so much time
with him… organizing protests, and being part of whatever Alan Hostetter was otherwise currently ranting about. But I
did see it, and wondered why it seemed like the energy around politics, the lock downs, mask wearing, everything
being so weird and different across the country… it was all getting to people seemingly everywhere and with every
visit to Orange County to visit family, it seemed I would sense things escalating the more time that passed.

At one point, I want to say right around the election, I learned how Alan Hostetter had changed his focus to the
election results. Russ seemed to follow along with that as the group's frustrations seemed to flow from masks and
curfews to the election. California can be aggressive in its willingness to place limits on people. I don’t know what it
felt like back east but out here it started to feel very controlling and uncomfortable. I think this was hard on the
outgoing and social man that Russ is. And I’m guessing this is what got him more politically involved.

Now, I know (and so does Russ) that some of what happened, including what Russ did on January 6th, went too far.
But I also know that much if not all of it was born out of the frustration from seemingly mindless mandates in
California that grew as time went on, and extended further to leaving even more and more people with greater
frustrations. For example, closing beaches on hot summer days so people couldn’t be outside enjoying themselves.
We even had to explain ourselves to the police once when we gathered as family at the beach because our group
combined with a few families seemed too large, and someone reported us.

And so, many people felt our freedom was under attack. And it was our understanding that we were allowed to
protest that opinion without any sort of recourse. And yet, if we were not for the mandates, I am confident Russ would
not have left his family in California to travel across the country for an extended period of time… and he would not
have been involved with the event of January 6th or anything related to Mr. Alan Hostetter. To be clear, I’m simply
explaining my understanding of how what started out as an innocent interest in beach church led to escalating
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discussions around frustrating mandates, abuse of political power, and loss of what most of us consider freedom and
personal rights as citizens of the United States of America.

So, this explanation is not intended to be received as an excuse of any sort. It’s just a clear observation of how one
event led to the next from my perspective, having witnessed it on multiple occasions over the course of time.

Looking at this in a different way, I’d like to focus now on the man I know and love in hopes that it can help shed
further light on who he is as a person, and not just how I think he got into this unfortunate situation.

Backing up a couple decades, when I first met Russ Taylor 20 years ago, it was back in the fall of 2004. His wife
Debbie is my wife’s older sister. And they were some of the first family member relatives of my wife I met shortly after
the two of us began to get close enough to be considered serious together. More importantly, I was young, and a little
nervous meeting her family, and yet, I will always remember how very welcoming Russ (and Debbie) were to me.

Even back then, before we knew one another too well, Russ would invite me on trips to the back country of Southern
Utah. He always made sure we were well prepared with communications, food, and other items. He had our group of
people lined up, place to stay, meeting location, etc. all pre-planned. In fact, I’d say Russ has always been a prepared
sort of person. And he’s always concerned about the people around him, especially when it comes to having a good
time.

What’s particularly interesting to note, I recall speaking with him about his trip to D.C. and if I understand correctly, he
took a knife and two axes with him. It’s weird, because I vaguely remember laughing about it at one point, and he
may have already been in D.C. at that point… but to me, I laughed because it sounded funny, as in… not real that he
would do anything with them. Especially since he’s such a big guy, I couldn’t imagine anyone doing anything to him…
sort of reminds me more of the kind of guy who can walk down the street like Andre the Giant in “The Princess Bride”
and have everybody get out of his way!

Still, if it helps, I’ll just point out that he was always a big guy, and was always into weapons and warrior type stuff,
and would go to festivals for medieval times, with people dressed in suits of armor, jousting, and being macho men of
sorts. And I’ve been to some of these things, its cool, but Russ gets all into costume and really loves it.

So I don’t think his intention was as much violence as just looking the part, and maybe there was a shred of self
protection factoring in there too, because as a bigger guy, he’s also an easier target… but I’ve never known him to
use his size and stature in any way to intimidate or fight with others. Instead, he is protective and watchful. And I
strongly suspect that it was no different on January 6th.

Another point of regard I have for Russ: we share many common traits. We’re both entrepreneurial, charismatic, and
full of love for life. Perhaps the most notable trait we share though is our love for family, raising them under God, and
living with dignity to support and uphold truth with what is right.

And you know, Russ does not just claim religion. He lives it. He attends church every Sunday. Takes his kids to youth
activities so they can have friends with common values and standards. He even helps take care of the little kids who
all seem to love him. Russ shows how life can be lived with God at our side, so the younger generation can have
something greater to look forward to besides themselves, in this often-challenging world around us.

All this aside... still wondering why I love Russ Taylor so much? He’s also the one I enjoy talking with the most every
time the family gets together. He has an ability to make whoever he is talking with feel loved and cared for at a deep
level something which very few people can do. He listens. Asks good questions. Shows empathy. Reflects human
emotion with real genuine interest and love. And makes you feel like you’re worth more than you might otherwise
think of yourself.

In short, Russ is the whole package. Sense of humor. Uplifting positive energy. Passion. Love. And a unique ability to
inspire, encourage, lift, and motivate others.

The Russ Taylor I know and love, is the one who I see living an honest, upstanding, and good life. Seems to me he
just got caught up in a moment with lots of surrounding negative influence, momentum and energy which
unfortunately wrapped him up into circumstances that did not serve him well. The good news is though, I know he
learned a huge lesson here. And I’m confident he’ll never repeat the same mistake twice.

Here’s the sort of thing you’ll see Russ doing these days: Last Thanksgiving, after we all finished a huge meal, Russ
rolled up his sleeves and cleaned dishes for hours while many others relaxed on the couch and played with the kids.
Nobody asked him to. He just did it. And I know because I was right there with him drying the dishes after he washed
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them. As we washed dishes, I thought about all the things Russ has done for me and others to lift us up and make
our lives better. And the list is long: he’s generously supported food banks with his time, organized a 5k run for the
less fortunate, and cared for a lonely friend that had been going through a really hard time in her life by taking care of
things she could not do for herself. I’ve been there on several occasions to witness this, and can attest to the fact that
given the opportunity, Russ gets things done.

And after spending the last many years building a worthy life for himself and raising a top-notch, wonderful family, I’m
certain he has touched the lives of countless people along the way and would never intentionally gamble this freedom
to enjoy a life with anyone other than those people whom he loves most: his family. And I’ve seen first-hand how sad
and sorry he is for what he did and I’ve been there to hear him talk about his deep desire to be able to be there for his
family hereafter.

I do understand what Russ and others did was so very wrong and there will be consequences for those actions. But
what I hope you will understand, Judge Lamberth, is that Russ Taylor, unlike so many other people who still cling to a
weird belief that what happened was acceptable, regrets and has moved back to being the man he always was and is
despite having this experience attached to his life history. And again, I’m not saying it is an acceptable excuse to get
caught up in the moment, but I am pointing out that it is a mark of his good natured character to see that he has not
stayed in that moment or sought to justify his failure that day.

Russ really is a great man and can continue to bring much good to this world given the opportunity. And I’d be
honored to stand by him and help him in any such endeavor. He’s a man worthy of anything good you can think to
task him with and I’m confident he will not let you down if you give him a chance.

I know I am not supposed to speak about his punishment, but may I please add that whatever happens (and we all
hope you please consider probation) I am confident you will not see him back in this Court or any other and we all
hope you will consider his goodness as a small factor in your decision.

I’d be glad to answer any further questions about my statement and relationship with Russ should you wish to contact
me.



Regards,




Chris Hulme

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                           EXHIBIT 7

                 LETTER FROM DEBBIE TAYLOR

                      WIFE OF MR. TAYLOR




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April 12, 2024

Dear Judge Lamberth,

My name is Debbie Taylor and I am Russ’ wife. I first want to thank you for being so direct and fair with
Russ during these proceedings. For example, Russ had been on the ankle bracelet for almost two
years. He never complained, but as his ankle swelled, we became worried. You graciously listened and
then let him have it removed. Those were a long two years, but I was grateful. I also wanted to thank
you for reminding him the day he pleaded guilty that you noticed how he was different from others by
cooperating with the U.S. Attorneys on the case. It meant a lot to both of us that we knew that you saw
what he was doing. He often spoke of how kind you were to everyone when he testified in
Court. Thank you.

Mr. Huish has asked me to write a very different kind of letter than I expected. He has asked me to tell
you some of Russ’ bad traits as opposed to good ones. He told me that it was important for you to know
his flaws so that there would be an honesty to our all our letters. I, more than anyone, know my
husband’s shortcomings and I guess it really does have to be me. At first, I was frustrated by this
request. I only wanted to tell you how wonderful my husband is to me, my family, and our
community, and how much I love him. But I do understand that there is a truth to be told about Russ
and I will do my best to be fair in this letter. I hope both you and Mr. Huish will forgive me if good things
still find their way out.

I have chosen to tell you three things about Russ that might be considered flaws. The first is that he
tends to be an overly enthusiastic follower. The second is that he is not a deep thinker and can
sometimes act rather than react. The third is that he too often wants to protect rather than allow
people the space to make their own choices. I do think that all three of these traits contributed to him
being before you in court, but I also truly believe there has been a lot of growth since January 6 .
                                                                                                   th




Over our 25 years together I have learned that Russ tends to follow others more than he leads. Which is
odd because he is very good at putting things together and preparing. But he sometimes tends to listen
to others’ ideas without considering the bigger picture. A few years ago, he had several big business
decisions to make. They ended up going poorly because he followed others' lead rather than trusting
his own intuition. It cost him a lot of business and hurt for a time. I am not even sure this trait has been
as clear to either of us until this experience. Russ appears to be in charge, but almost every time
someone is pushing him in a direction. Once he gets going, it is more about the task than anything
else. I believe this is part of what happened with Alan Hostetter. He sure was a charismatic guy who
really spoke deeply to Russ about the Covid restrictions. Once Russ got behind that cause everything
else seemed to follow – and so did my husband. I am not making an excuse, I promise. But Russ gained
a great insight into why it is that he found himself at the Capital that day and he has grown.

Russ is not a deep thinker. What I mean is he kind of moves to the end of the story rather than looking
at the details and the groundwork. I am not saying he is dumb; he is a smart guy. But my husband often
jumps to conclusions about things and once he is there, he is all in, trying to make it work. He has a very
strong moral center, and this can also taint his viewpoint from time to time. He really would give up his
time and money to make things work out, but as he has learned, the very hard way, you must make sure
both the cause and the method are correct. I have never been mad at him for some of his beliefs about
the election, but he let his lack of thought move him beyond a protest into a position of embarrassing
and hurtful behavior toward a Country I know he loves. I am confident that his lack of deeper thoughts
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and foresight left him thinking, at that moment (not now), that his acts that day were justified. But no
sooner than he came home he immediately understood how wrong he had been and has been trying to
make amends since.

Russ tends to be overly protective. My husband is a really big man and because of his size people often
look to him for physical protection. As an offensive lineman, he was tasked with protecting his
teammates and I think this instinct has placed an unusual burden on him. I do want you to know that
Russ is never violent or even angry. He really is a gentle giant, but he does think it’s his job to protect
everyone around him, and to be honest sometimes this is annoying. It is annoying because nothing is
happening and there is no need for protection, but Russ always seems to be worried about everything
and wants to be able to protect others. Again, I am not making an excuse, and I told him he didn’t need
to carry his knife in D.C., but he was always worried about Antifa possibly showing up and hurting some
of the women and older individuals. Especially when he had seen people first-hand attacked in DC in
November when there for a rally. I have no idea what he thought he would do if they did show up, but
he thought it better to be prepared if something did happen. This is so like Russ and so
unnecessary. Perhaps this is a bit of an “I told you so moment.” But may I add that after lots of
conversations and deep searching of both our souls he better understands that this is not his job in life
and there are times when you stay on the sidelines and let others do their jobs.

In the end, I am not so sure that Russ drastically has changed anything about himself because he has
always been a good man trying to do the right thing, but I do believe that self-reflection and
consideration of that January day’s poor choices have refined him, taught him and helped him to be a
better version of himself. Perhaps to look both ways and then look again before following others, failing
to think things to the end, or be everyone’s bodyguard.

Russ is not a perfect man, but he is a very good man. Russ does make mistakes, but he is quick to accept
responsibility and seek to make amends. Russ was never involved in anything political before the Covid
restrictions and then January 6 and he has not been involved in any of it since except to do all the U.S.
                                th


Attorneys asked him to do.

This failure of his to make the right choice on January 6th has been hard for us. He settled the civil suit
even though we had to borrow all that money. He’s been trying to do the right thing ever since and
make amends. Whatever you decide must happen to bring back the proper balance, we understand is
necessary. But I know without a shadow of a doubt, that Russ will never be back in a courtroom before
you.

Thank you for reading this letter and I hope this helps you better understand Russ.




Deborah Taylor
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                           EXHIBIT 8

               MEDICAL REPORT OF MR. TAYLOR

                 SHOWING SEVER SLEEP APNEA




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                                                                                                                                                           Taylor, Russ

                                                                                                                                   DOB: May 21, 1981 (age 42 years )
                                                                  Sleep therapy report
                                                                                                                                              AS11, SN 23222745304


Mar 9, 2024 - Apr 7, 2024 (within 30 days)
  Average usage                                           6 hours 24 minutes         Days used ≥ 4 hours                              27/29 (93.10 % )
  Leak 95th %                                                       31.90 L/min      Days us ed ≥ 6 hours                              15/29 (51.72 %)
  Average AHI                                              5.56 events per hour


      Usage hours
                                                                                           ≥ 4 hours         < 4 hours           No usage              No data
       12
       10
        8
        6
        4
        2
        0
              Mar 9                            Mar 16                           Mar 23                           Mar 30                            Apr 6
              2024                              2024                             2024                             2024                             2024


      Events per hour (AHI)
                                                                                                       events per hour           No usage              No data

       40
       20
       10
        4
        2
        1

              Mar 9                            Mar 16                           Mar 23                           Mar 30                            Apr 6
              2024                              2024                             2024                             2024                             2024

Jan 9, 2024 - Apr 7, 2024 (within 90 days)
  Average usage                                           6 hours 14 minutes         Days used ≥ 4 hours                              86/89 (96.63 % )
  Leak 95th %                                                        32.35 L/min     Days us ed ≥ 6 hours                              46/89 (51.69 %)
  Average AHI                                             5.67 events per hour


      Usage hours
                                                                                           ≥ 4 hours         < 4 hours           No usage              No data
       12
       10
        8
        6
        4
        2
        0
                    Jan 15                 Jan 29                 Feb 12                 Feb 26               Mar 11                 Mar 25
                     2024                   2024                   2024                   2024                 2024                   2024

Apr 9, 2023 - Apr 7, 2024 (within 365 days)
  Average usage                                           6 hours 25 minutes         Days used ≥ 4 hours                           358/364 (98.35 % )
  Leak 95th %                                                       30.58 L/min      Days us ed ≥ 6 hours                           209/364 (57.42 %)
  Average AHI                                             5.77 events per hour


      Usage hours
                                                                                           ≥ 4 hours         < 4 hours           No usage              No data
       12
       10
        8
        6
        4
        2
        0
         Apr 10       May 10       Jun 9       Jul 9      Aug 8       Sep 7        Oct 7       Nov 6      Dec 6        Jan 5       Feb 4       Mar 5       Apr 4
          2023         2023        2023        2023       2023        2023         2023        2023       2023         2024        2024        2024        2024




  T he content in this s leep therapy report is for informational purpos es only. It is not a s ubs titute for the profes s ional judgment of a healthcare profes s ional
  for diagnos is and treatment purpos es . Always s eek the advice of a phys ician or other qualified healthcare provider for any ques tions you may have
  regarding a medical condition. T his report is provided "as is " and you are s olely res pons ible for the us e of this report.
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